10/21/2020     Case: 1:22-cv-03861 Document
                                        Yahoo #:
                                              Mail11-23    Filed: 11/14/22
                                                   - Fwd: Whistleblower          Page
                                                                        Complaints       1 of 3 PageID #:450
                                                                                   and Retaliation




     Fwd: Whistleblower Complaints and Retaliation

     From: Dr. Fred Nance Jr. (drfred.nancejr@gmail.com)

     To:     frednance@clickservices.org

     Date: Wednesday, October 21, 2020, 02:26 PM CDT




     ---------- Forwarded message ---------
     From: Fred Nance Jr. <frednance@clickservices.org>
     Date: Tue, Sep 29, 2020 at 9:47 AM
     Subject: Fwd: Whistleblower Complaints and Retaliation
     To: Dr. Fred Nance Jr <drfred.nancejr@gmail.com>




     Sent from my iPhone
     Dr. Fred L Nance Jr
     PhD Human Services
     Social Policy Analysis
     708-921-1395
     www.clickservices.org

     Begin forwarded message:


             From: "Fred Nance Jr." <frednance@clickservices.org>
             Date: September 29, 2020 at 1:53:51 AM CDT
             To: "Dr. Fred L Nance Jr., Ph.D." <frednance@clickservices.org>, "info@osc.gov" <info@osc.gov>
             Cc: Laura Colon-Marrero <Laura.Colon-Marrero@usdoj.gov>, Todd Garrison <Todd.Garrison@usdoj.gov>
             Subject: Re: Whistleblower Complaints and Retaliation


             FYI - Ms. Colon-Marrero & Mr. Garrison

             Sent from my iPhone
             Dr. Fred L Nance Jr
             PhD Human Services
             Social Policy Analysis
             708-921-1395
             www.clickservices.org


                   On Sep 28, 2020, at 11:45 PM, Dr. Fred L Nance Jr., Ph.D. <frednance@clickservices.org>
                   wrote:




                   To Whom it May Concern:

                   I, Dr. Fred L Nance Jr., am the author of this complaint. I went on the U.S.
                   Office of Special Counsel website seeking to file a complaint pursuant to
                   an email I received on September 28, 2020, which is attached. I could not



                                                                                                                1/3
10/21/2020   Case: 1:22-cv-03861 Document
                                      Yahoo #:
                                            Mail11-23    Filed: 11/14/22
                                                 - Fwd: Whistleblower          Page
                                                                      Complaints       2 of 3 PageID #:451
                                                                                 and Retaliation


                 access your form because I do not have Adobe Reader for a PDF program.
                 My PDF program Nitro Pro, which your system does not recognize.

                 I filed 3 Whistleblower complaints pursuant to the National Defense
                 Authorization Act of 2013, which governs Grant #2018-CY-BX-0025. An
                 NDAA reprisal claim must be filed initially with the Office of Inspector
                 General of the agency that awarded the contract or grant about which the
                 employee disclosed wrongdoing. (10 U.S.C. Section 2409(b)(1); 41 U.S.C.
                 Section 4712(b)(1)). As you will see in my attachment I filed a complaint on
                 September 13, 2020 with the OIG. Why would I receive the email attached
                 reporting I need to report my retaliation issues with OSC?

                 Regarding Federal litigation: A whistleblower may file a lawsuit in Federal
                 District Court against the federal contractor if the whistleblower is denied
                 relief after complaining to the OIG or has not obtained relief within 210
                 days of fling the complaint with the OIG. (10 U.S.C. Section 2409(c)(2); 41
                 U.S.C. Section 4712(c)(2)). The whistleblower must file the lawsuit within
                 two years after exhausting the administrative remedies before the OIG and
                 is entitled to a de novo jury trial (10 U.S.C. Section 2409(c)(2); 41 U.S.C.
                 Section 4712(c)(2)). I also have the option to proceed with additional
                 claims under provisions of FCA. My employment was not protected from
                 retaliation by DOJ, BJA, OJP and EMAGES, Inc., which is a requirement of
                 the Whistleblower Act of 2013.

                 Attached is an email I received from OJP on September 28, 2020; a 21-
                 page document comprised of my 3 Whistleblower Complaints and email
                 responses to other DOJ BJA OJP staff supervising Grant #2018-CY-BX-
                 0025. The 3 Whistleblower complaints are dated: April 17, 2020; August
                 29, 2020; and September 13, 2020. If our grant manager, Tracey Willis,
                 had done her job and addressed the April 17, 2020 complaint, I would not
                 be in the place I am in today and Grant #2018-CY-BX-0025 would not be
                 canceled on September 30, 2020. The grant period is for 2018-2021.

                 Please let me know if I have contacted the correct agency. I am being sent
                 in circular motions attempting to address and exhaust my administrative
                 remedies before proceeding to Federal Court. I do not want to go to
                 Federal Court, but I will if I cannot get someone from DOJ BJA OJP to
                 adhere to the Whistleblower Act. I will not be the victim for reporting waste,
                 abuse, and fraud. Thank you.

                 /s/Dr. Fred Nance Jr.
                 Ph.D. Health & Human Services
                 Social Policy Analysis and Planning
                 www.clickservices.org
                 708-921-1395

                 NOTICE: If you have received this e-mail message from Dr. Fred Nance
                 Jr., the e-mail message, and any and all attachments transmitted with it are
                 intended solely for the use of the addressee and may contain legally
                 privileged and confidential information. If the reader of this message is not
                 the intended recipient, or an employee or agent responsible for delivering
                 this email message to the intended recipient, you are hereby notified that

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10/21/2020   Case: 1:22-cv-03861 Document
                                      Yahoo #:
                                            Mail11-23    Filed: 11/14/22
                                                 - Fwd: Whistleblower          Page
                                                                      Complaints       3 of 3 PageID #:452
                                                                                 and Retaliation


                  any dissemination, distribution, copying, or other use of the message or its
                  attachments is strictly prohibited. If you have received this email message
                  and its attachments if any, in error, please notify the sender immediately by
                  replying to the message and please delete it from your computer. Thank
                  you.
                  <9.28.20 Whistleblower Complaint and Retaliation Email from Laura Colon-Marrero.pdf>
                  <9.25.20 DOJ BJA OJP Grant #2018-CY-BX-0025 Whistleblower Complaint Revised.pdf>



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     /s/Dr. Fred Nance Jr., Ph.D.
     Human Services/Social Policy Analysis
     Program and Policy Development
      708-921-1395




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